Case 24-10354-amc                     Doc        Filed 01/07/25 Entered 01/07/25 18:24:35                            Desc Main
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      Fill in this information to identify the case:

      Debtor 1      Jennifer L. Shinn Madden

      Debtor 2
      (Spouse, if filing)

      United States Bankruptcy Court for the: Eastern District of Pennsylvania

      Case number 24-10354-amc




 Official Form 410S2
 Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                            12/16

 If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in
 the debtor's principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the
 bankruptcy filing that you assert are recoverable against the debtor or against the debtor's principal residence.

 File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.



    Name of creditor: Santander Bank, N.A.                                        Court claim no. (if known): 4

  Last four digits of any number you use to
  identify the debtor’s account: 8938

  Does this notice supplement a prior notice of
  postpetition fees, expenses, and charges?
           No
           Yes. Date of the last notice: 10/28/2024

  Part 1: Itemize Postpetition Fees, Expenses, and Charges
  Itemize the fees, expenses, and charges incurred on the debtor’s mortgage account after the petition was filed. Do not include
  any escrow account disbursements or any amounts previously itemized in a notice filed in this case. If the court has
  previously approved an amount, indicate that approval in parentheses after the date the amount was incurred.


    Description                                                                       Dates incurred                            Amount

    1. Late charges                                                                                                   (1)   $ 0.00
    2. Non-sufficient funds (NSF) fees                                                                                (2)   $ 0.00
    3. Attorney’s fees                                                                                                (3)   $ 0.00
    4. Filing fees and court costs                                                                                    (4)   $ 0.00
    5. Bankruptcy/Proof of claim fees                                                                                 (5)   $ 0.00
    6. Appraisal/Broker’s price opinion fees                                                                          (6)   $ 0.00
    7. Property inspection fees                                                                                       (7)   $ 0.00
    8. Tax advances (non-escrow)                                                                                      (8)   $ 0.00
    9. Insurance advances (non-escrow)                                                                                (9)   $ 0.00
  10. Property preservation expenses. Specify:                                                                       (10)   $ 0.00
                                                                             10/16/2024: E-File Motion @$67.68;
                                                                          10/16/2024: E-File Servicing Fee @$5.00;
  11. Other. Specify:                                                     10/16/2024: First-Class Mail Fee @$0.97;   (11)   $ 611.15
                                                                           10/18/2024: Sale Postponement Motion
                                                                                         @$537.50
  12. Other. Specify:                                                                                                (12)   $ 0.00
  13. Other. Specify:                                                                                                (13)   $ 0.00
  14. Other. Specify:                                                                                                (14)   $ 0.00

  The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
  See 11 U.S.C. § 1322(b)(5) and Bankruptcy Rule 3002.1.

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    Debtor1    Jennifer L. Shinn Madden                                   Case number (if known) 24-10354-amc
               First Name           Middle Name      Last Name




    Part 2: Sign Here
    The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address
    and telephone number.

    Check the appropriate box.

      I am the creditor.
      I am the creditor’s authorized agent. (Attach copy of power of attorney, if any.)



    I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my
    knowledge, information, and reasonable belief.

     /s/Mario Hanyon
         Signature
                                                                                  Date 1/7/2025



    Print: Mario Hanyon (203993)
           First Name           Middle Name          Last Name                    Title Attorney



    Company Brock & Scott, PLLC

    Address 3825 Forrestgate Dr.
              Number                     Street


              Winston-Salem, NC 27103
               City         State        ZIP Code


    Contact phone 844-856-6646                                                    Email P A B K R @ b r o c k a n d s c o t t . c o m




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                       IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                                   Philadelphia Division


 IN RE:
 Jennifer L. Shinn Madden                                Case No. 24-10354-amc
                                                         Chapter 13
 Santander Bank, N.A.,
        Movant

 vs.

 Jennifer L. Shinn Madden ,
        Debtor




                                    CERTIFICATE OF SERVICE

        I, the undersigned, certify that on January 7, 2025, I did cause a true and correct copy of the
documents described below to be served on the parties listed on the mailing list exhibit, a copy of
which is attached and incorporated as if fully set forth herein, by the means indicated and to all parties
registered with the Clerk to receive electronic notice via the CM/ECF system:

      Notice of Postpetition Mortgage Fees, Expenses, and Charges


        I certify under penalty of perjury that the above document was sent using the mode of
service indicated.


Date: January 7, 2025
                                              /s/Mario Hanyon
                                              Andrew Spivack, PA Bar No. 84439
                                              Matthew Fissel, PA Bar No. 314567
                                              Mario Hanyon, PA Bar No. 203993
                                              Ryan Starks, PA Bar No. 330002
                                              Jay Jones, PA Bar No. 86657
                                              Attorney for Creditor
                                              BROCK & SCOTT, PLLC
                                              3825 Forrestgate Drive
                                              Winston Salem, NC 27103
                                              Telephone: (844) 856-6646
                                              Facsimile: (704) 369-0760
                                              E-Mail: PABKR@brockandscott.com
Case 24-10354-amc         Doc
                           Filed 01/07/25 Entered 01/07/25 18:24:35 Desc Main
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______________________________________________________________________________

Mailing List Exhibit: (Check all that apply. If via e-mail, include e-mail address. Continue to the next
page if necessary.)

MICHAEL A. CIBIK, Debtor's Attorney
1500 Walnut Street
Suite 900
Philadelphia, PA 19102
help@cibiklaw.com
Debtor's Attorney
Via:    ☒ CM/ECF ☐ 1st Class Mail               ☐ Certified Mail        ☐ e-mail:
        ☐ Other:

SCOTT F. WATERMAN [Chapter 13],
2901 St. Lawrence Ave.
Suite 100
Reading, PA 19606
Bankruptcy Trustee
Via:    ☒ CM/ECF ☐ 1st Class Mail               ☐ Certified Mail        ☐ e-mail:
        ☐ Other:

United States Trustee
Office of United States Trustee
Robert N.C. Nix Federal Building, 900 Market Street, Suite 320
Philadelphia, PA 19107
US Trustee
Via:    ☒ CM/ECF ☐ 1st Class Mail            ☐ Certified Mail           ☐ e-mail:
        ☐ Other:

Jennifer L. Shinn Madden
7146 Cottage St
Philadelphia, PA 19135-1202
Debtor
Via:    ☐ CM/ECF ☒ 1st Class Mail               ☐ Certified Mail        ☐ e-mail:
        ☐ Other:
